                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE




GRAMERCY INSURANCE COMPANY                         )
                                                   )
       Plaintiff,                                  )      Case No. 3:13-cv-509
                                                   )      Judge Haynes
v.                                                 )
                                                   )
                                                   )
EXPEDITOR’S EXPRESS, INC., et al.                  )
                                                   )
       Defendants.                                 )

                                  ENTRY OF JUDGMENT


              Judgment is hereby entered for purposes of Rule 58(a) and/or Rule 79(a) of the
Federal Rules of Civil Procedure on July 1, 2013.




                                                   KEITH THROCKMORTON, CLERK

                                                   s/ Leathelia Fernandez Allen
                                                   Deputy Clerk




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